Case 1:20-cv-20795-UU Document 1 Entered on FLSD Docket 02/24/2020 Page 1 of 4

                                                                              FILED    BY_._-=G ..._o.c.
                                 UNITED STATES DISTRICT COURT                      FEB 2 4 2020 ,
                                 SOUTHERN DISTRICT OF FLORIDA
                                                                                    ANGELA E. NOGLE
                                        MIAMI DIVISION                             CLERK U.S. DIST. CT.
                                                                                   S. D. OF FLA. - MIAMI



           Case No. _ _ _ _ _-Civ ( Judge _ _ _ _ _ _\Magistrate _ _ __,)

  Adonis Meaux

         Plaintiff
  vs.
  Carnival Cruise Line, et al.

         Defendants

                                           COMPLAINT

         Now into the Honorable Court appearingpro se comes Adonis Meaux (Meaux or

  Complainant), who seeks personal injury damages from a trip and fall on or about February 24,

  2019, on the Carnival Horizon (Incident) and respectfully states:

                                               Parties

      1. Complainant is a resident of Louisiana and was so at all times relative to this Complaint.

     2. Complainant sues Carnival Cruise Line, Carnival Corporation, Carnival Corporation &

         plc, Carnival Cruise Line North America, Carnival Cruise Line North America, and/or

         motor vessel Carnival Horizon, its corpus, officers and/or crew. (Carnival)

                                       Jurisdiction - Diversity

      3. The parties are diverse and the amount in controversy exceeds $75,000.

      4. Thus, this Honorable Court has subject matter jurisdiction through 28 U.S.C. § 1332.

                                                Venue

      5. Venue is proper under the terms of the Ticket Contract between Complainant and

          Carnival, specifically paragraph 13(c).
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                                                  Facts

     6. On or about February 24, 2019, Meaux was a ticketed passenger of Carnival Horizon.

     7. At approximately 2:30 PM, Meaux tripped on a raised floor joint on Deck 4.

     8. The floor's horizontal tile pattern masked the floor joint.

     9.   The floor joint was elevated.

     10. The floor joint presented an unreasonable risk of harm.

     11. Carnival knew or should have known that the floor joint presented an unreasonable risk

          ofharm.

     12. The Incident ruptured Meaux's left quadriceps that required surgical repair.

     13. Carnival alone caused the Incident and Meaux's damages.

                                                 Relief

     14. Defendants must satisfy Complainant's damages that include past, present and future

          general and special damages, including economic losses, past, current and future.

                                          Certification and Closing

     15. Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best ofmy

          knowledge, information, and belief that this complaint: (1) is not being presented for an

          improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the

          cost of litigation; (2) is supported by existing law or by a nonfiivolous argument for

          extending, modifying, or reversing existing law; (3) the factual contentions have ·

          evidentiary support or, if specifically so identified, will likely have evidentiary support

          after a reasonable opportunity for further investigation or discovery; and (4) the complaint

          otherwise complies with the requirements of Rule 11.
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      16. I agree to provide the Clerk's Office with any changes to my address where case-related

            papers may be served. I understand that my failure to keep a current address on file with

            the Clerk's Office may result in the dismissal ofmy case.


            WHEREFORE, the premises considered, I pray for judgment in my favor and against

  Carnival Cruise Line, Carnival Corporation, Carnival Corporation & plc, Carnival Cruise Line

  North America, or all of them or a combination of them, in an amount reasonable in the

  premises, together with legal interest, costs of the proceedings; and for all general and equitable

  relief.


            February 21, 2020
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